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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

                                                      *
ASSOCIATION OF AMERICAN
PUBLISHERS,                                           *

                Plaintiff,                            *

                v.                                    *       Civil Action No.:
                                                              1:21-cv-03133-DLB
BRIAN E. FROSH, Attorney General of                   *
Maryland,
                                                      *
                Defendant.
                                                      *

     *      *        *    *    *     *     *      *       *     *    *     *      *     *        *

                         NOTICE OF FILING OF PROPOSED ORDERS

         Association of American Publishers (“AAP”) and Brian E. Frosh (the “State,” and

together with AAP, the “Parties”) submit the attached Proposed Orders pursuant to the Court’s

May 26, 2022 Paperless Order (“Order”).

         The Parties met and conferred to discuss the Order and agree that a declaratory judgment

may be entered. The Parties disagree, however, in their view of whether a permanent injunction

may still be granted. Plaintiff interpreted the Order to refer only, “at a minimum,” to the Court’s

determination that a declaratory judgment should be entered, but understood that the Court was

still considering whether a permanent injunction is also necessary. Plaintiff still believes a

permanent injunction is necessary and appropriate here. See ECF No. 24. The State interpreted

the Order to mean that a permanent injunction will not be granted, and that “at a minimum”

referred to the relief on which the parties could agree. The State still believes a permanent
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injunction is unnecessary and views the Order as an appropriate exercise of discretion and

judicial economy. See ECF Nos. 23 and 26.

       Notwithstanding this disagreement about the permanent injunction, the Parties submit the

attached two Proposed Orders, the Plaintiff’s Proposed Order and the Defendant’s Proposed

Order (together, the “Proposed Orders”), concerning the declaratory judgment. The Parties

substantially agree on the attached Proposed Orders, except disagree as to the language in

Paragraph 2 of the Plaintiff’s Proposed Order. Plaintiff believes that because the Court’s prior

order, ECF No. 19, only addressed a preliminary injunction, on a likelihood of success standard,

the attached Proposed Order should clarify the Court’s rationale for entering a declaratory

judgment. Defendant disagrees that any additional language is necessary and views Defendant’s

Proposed Order as sufficient and appropriate for joint submission.

                                                     Respectfully submitted,

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                                                     /s/ Elliott L. Schoen
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